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                         19TH JUDICIAL DISTRICT COURT
                          PARISH OF EAST BATON ROUGE
                                  STATE OF LOUISIANA
              CASE NUMBER:                                 WARRANT NUMBER:
                 20-85635                                        2


            AFFIDAVIT FOR SEARCH AND SEIZURE WARRANT

BEFORE ME, the undersigned Authority of the 19TH JUDICIAL DISTRICT COURT, Parish of
EAST BATON ROUGE, State of Louisiana, Joshua Barnett, of the Baton Rouge Police
Department, who, upon being duly sworn by me, deposes and says:

PROBABLE CAUSE EXISTS FOR THE ISSUANCE OF A SEARCH WARRANT
AUTHORIZING THE SEARCH OF:

2014 Cheverolet Traverse Gray in color bearing license plate 594 CKF.



hereinafter referred to as “vehicle,” which is currently located in EAST BATON ROUGE Parish,
Louisiana, at the address described as: 3866 Chippewa St.,, baton rouge, LA,

IN WHICH THE FOLLOWING DESCRIBED ITEM(S) IS/ARE BELIEVED TO BE
LOCATED:

I respectfully request permission to search the vehicles listed in this search warrant.


AND ARE BELIEVED TO CONSTITUTE A VIOLATION OF:

1 Count of RS40:966A(MARIJUANA)--Distribution/Possession with the Intent to Distribute
Marijuana, or synthetic cannabinoids-- (FELONY)
1 Count of RS14:95.1--Possession of Firearm by Person Convicted of Certain Felonies--
(FELONY)
1 Count of RS14:95 E--Illegal Carry of Weapons;Crime or CDS (Felony)-- (FELONY)

PROBABLE CAUSE IS BASED ON THE FOLLOWING FACTS:

   Myself, along with the Street Crimes Unit received information from a reliable source that
several subjects affiliated with the Street Gang "Never Broke Again " (NBA) , and "Bottom Boy
guerillas' (BBG) were at 3866 Chippewa St. (an abandoned residence) and in the empty lot on
the East side of the mentioned address branishing firearms. Upon arrival , myself and several
officers observed several subjects outside at these locations drop objects on the ground and open


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vehicle doors and then close them , then walk away from the area. Three subjecst also fled on
foot from officers from this location as well. All subjects that ran were apprehended and all the
subjects that were standing in the area were also apprehended.

    A search was conducted of the immediate area that everyone was standing , and during the
search approximately 8 to 9 firearms were located and we are still actively searching the area.
 Everyone was checked through CIU and learned that almost everyine was a convicted felon,
including the leader of "NBA" Kentrell Gaulden. Narcotics was also located in a few vehicles
that were searched by the owners consent. The K9 thats assigned to our unit, conducted a free air
sniff for the presence of narcotics on 2020 black Cadiallc Escalade bearing Texas license plate
NDL 0211, Chevrolet Traverse bearing license plate 594 CKF, and the Acura SUV bearing
license plate 872 ARL to which the K9 gave a positive indication for the presence of narcotics.
The Dodge Ram Truck bearing license plate C071975, and Blue Nissan Sentra
(3N1AB7AP2GY309264) subjects were seen opening and shutting the doors of the vehicles
when officers arrived on scene. We also located several of the firearms, and narcotics around the
mentioned vehicles. There is also loose marijuana seen in plain view scattered throughout the
Blue Nissan Sentra.




 I hereby certify under oath the facts contained within the Application for this
 Search Warrant to be true and correct, under penalties of perjury, so help me God.




                                                    _____________________________
                                                    Joshua Barnett
                                                    AFFIANT




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THUS DONE AND PASSED on the 28 day of September , 2020 after reading of the
whole.




                                           _________________________________
                                           Judge Tiffany L Foxworth-Roberts
                                           19TH JUDICIAL DISTRICT COURT
                                           Parish of EAST BATON ROUGE
                                           State of Louisiana




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                         19TH JUDICIAL DISTRICT COURT
                          PARISH OF EAST BATON ROUGE
                                  STATE OF LOUISIANA


              CASE NUMBER:                                 WARRANT NUMBER:
                 20-85635                                        2

                            SEARCH AND SEIZURE WARRANT

TO ANY AND ALL LAW ENFORCEMENT OFFICERS in and for the Parish of EAST
BATON ROUGE:

AFFIDAVIT HAVING BEEN MADE BEFORE ME BY Joshua Barnett of the Baton Rouge
Police Department, that he has a good reason to believe that in the vehicle described as:

2014 Cheverolet Traverse Gray in color bearing license plate 594 CKF.



Within the Parish of EAST BATON ROUGE, State of Louisiana as more fully described in the
application for this warrant, there is now being concealed certain property, namely:

I respectfully request permission to search the vehicles listed in this search warrant.


Which said property constitutes the a violation of:

1 Count of RS40:966A(MARIJUANA)--Distribution/Possession with the Intent to Distribute
Marijuana, or synthetic cannabinoids-- (FELONY)
1 Count of RS14:95.1--Possession of Firearm by Person Convicted of Certain Felonies--
(FELONY)
1 Count of RS14:95 E--Illegal Carry of Weapons;Crime or CDS (Felony)-- (FELONY)

Of the Louisiana Revised Statutes, and the affidavit submitted in support of this search warrant
shows the necessary probable cause for its issuance. The purpose and reason for the search is to
find and seize the item(s) listed above.

YOU ARE HEREBY ORDERED to search forthwith the aforesaid vehicle for the property
specified, serving this Search and Seizure Warrant and if the property be found there, seizing it,
leaving a copy of this warrant and a receipt for the property seized, to make written return on this
warrant including a written inventory of the property seized, and to bring the said seized property
into the court within ten (10) days of this date as required by law.




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YOU ARE AUTHORIZED to execute this warrant and to make this search during the daytime
or the nighttime and if the property herein described to be found in the vehicle herein described to
seize said property in accordance with law.

YOU ARE AUTHORIZED to execute this warrant and to make this search on a Sunday and if
the property herein described to be found in the vehicle herein described to seize said property in
accordance with law.

WITNESS my official signature on this 28 day of September , 2020 .




                                                Judge Tiffany L Foxworth-Roberts
                                                19TH JUDICIAL DISTRICT COURT
                                                Parish of EAST BATON ROUGE
                                                State of Louisiana




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                                                                    K. Gaulden Prod._000322
